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                      IN THE UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 In re:                                               )   Case No.: 19-42907-399
                                                      )   Honorable Barry S. Schermer
 RUKHSANA HOSPITALITY, L.L.C.                         )   Chapter 11 Proceeding
                                                      )
                         Debtor.                      )
                                                      )



 SUPPLEMENTAL ORDER APPROVING BANKRUPTCY CODE SECTION 363 SALE
                      OF HOTEL PROPERTY

          On July 17, 2019, this Court entered its Order Approving Bankruptcy Code Section 363

Sale of Hotel Property (“Sale Order”) (Dkt. #46). This Supplemental Order Approving

Bankruptcy Code Section 363 Sale of Hotel Property (“Supplemental Order”) is to be read in

conjunction with the Sale Order and all provisions of the Sale Order remain in full force and

effect.

IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

          1.     Forsyth Associates, LLC, or its successors and assigns, shall remit Four Million

Dollars ($4,000,000.00) to Hillsboro Title Company for purchase of the hotel property pursuant

to the terms of the Sale Order.

          2.     Hillsboro Title Company shall pay Live Oak Banking Company Four Million

Dollars ($4,000,000.00) for a consensual release of its liens on the hotel property including:

                    a. Deed of Trust executed by Rukhsana Hospitality, LLC to St. Louis title

                        LLC as Trustee for Live Oak Banking Company dated June 30, 2016 and

                        recorded July 1, 2016 at Book 220084, Page 4786 in the amount of

                        $5,000,000.00;



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                  b. Assignment of Leases and Rents executed by Rukhsana Hospitality, LLC

                      to Live Oak Banking Company dated June 30, 2016 and recorded July 1,

                      2016 at Book 22084, Page 4819;

                  c. UCC Financing Statement executed by Rukhsana Hospitality, LLC

                      recorded July 1, 2016 at Book 22084, Page 4830;

                  d. Pari Passu Agreement by and between Rukhsana Hospitality, LLC and

                      Live Oak Banking Company dated June 30, 2016 and recorded July 1,

                      2016 in Book 22084, Page 4839;

                  e. Deed of Trust executed by Rukhsana Hospitality, LLC to St. Louis title

                      LLC as Trustee for Live Oak Banking Company dated June 30, 2016 and

                      recorded July1, 2016 at Book 22084, Page 4786 in the amount of

                      $1,118,600.00;

                  f. Assignment of Leases and Rents executed by Rukhsana Hospitality, LLC

                      dated June 30, 2016 and recorded July 5, 2016 at Book 22086, Page 3402;

                  g. UCC Financing Statement executed by Rukhsana Hospitality, LLC

                      recorded July 5, 2016 at Book 22086, Page 3413;

       3.      With the exception of real estate taxes, which shall be paid by purchaser, all

remaining liens, including the mechanics lien filed July 21, 2018 in St. Louis County Circuit

Court against Rukhsana Hospitality, LLC in the amount of $17,938.14 by Professional Irrigation

Systems LLC, shall not receive any sale proceeds.




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          4.        No later than two (2) business days after the date of entry of this Supplemental

Order, Debtor shall serve a copy of this Order, and shall file a Certificate of Service pursuant to

Local Rule 9004(D) within 24 hours of service.



DATED: August 2, 2019
St. Louis, Missouri                                            Barry S. Schermer
cke                                                            United States Bankruptcy Judge




Order Prepared By:
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